                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                              DOCKET NO. 3:01-CR-31-14-FDW


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )              MEMORANDUM
 GARY HARRIS,                                      )               OF DECISION
                                                   )
                Defendant.                         )
                                                   )

       In this matter before the Court for a reduction of sentence pursuant to 18 U.S.C.§ 3582(c)(2)

and Amendment 706 of the U.S.S.G. (made retroactive by Amendment 713), the Court makes the

following findings and conclusions:

1.     Defendant is eligible for a sentence reduction to a period of confinement equal to 120 months

(the mandatory minimum) for the reasons set forth in the Supplement to the Presentence Report.

2.     In the case of a defendant who has been sentenced to a term of imprisonment “based on a

sentencing range that has subsequently been lowered by the Sentencing Commission,” 18

U.S.C. § 3582(c)(2) provides that the Court may reduce the term of imprisonment “after considering

the factors set forth in section 3553(a) to the extent they are applicable” and if such a reduction is

consistent with the applicable policy statements issued by the Sentencing Commission. In the

Commentary to U.S.S.G. § 1B1.10, the Sentencing Commission emphasized that the decision to

grant a sentence reduction authorized by retroactive amendments is discretionary and that

retroactivity does not entitle a defendant to a reduced term of imprisonment as a matter of right.

3.     The full record before the Court reflects a defendant who was had a lengthy involvement in

a violent drug distribution conspiracy and who has already received an extraordinarily large



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reduction in his sentence on account of his substantial assistance. In light of these facts, as well as

a less than perfect disciplinary record while incarcerated, the Court will attempt to fashion a sentence

that gives defendant some benefit of the amendment while promoting adequate respect for the law.

4.     Upon consideration of the sentencing factors set forth in 18 U.S.C. § 3553(a), the possible

threat to public safety posed by the early release of a person with this defendant’s criminal

predispositions, and this defendant’s post-sentencing conduct, the court finds:

       a.      That the defendant should receive some benefit from the retroactive application of

               Amendment 706, but that a reduction to 120 months is inappropriate; and

       b.      That a sentence of 124 months is adequate, but no greater than necessary, to

               accomplish the objectives of 18 U.S.C. § 3553(a), while a further reduction would

               frustrate those objectives;1 and

       c.      That this sentence is below the amended guidelines range on account of the

               Defendant’s prior substantial assistance to the government.

       An appropriate Order shall issue separately.

                                                   Signed: September 5, 2008




       1
        The Court notes that it is not required under Fourth Circuit case law to undertake an
exhaustive analysis of all of the § 3553(a) factors in this Order. See United States v. Legree, 205
F.3d 724, 728-29 (4th Cir. 2000).

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